
972 A.2d 864 (2009)
409 Md. 50
In the Matter of the REINSTATEMENT to the Bar of Maryland OF Michael Vincent KUHN.
Misc. Docket AG No. 63, September Term, 2008.
Court of Appeals of Maryland.
June 9, 2009.

ORDER
This matter came before this Court on the Verified Petition of Michael Vincent Kuhn for reinstatement to the Bar of Maryland.
The Court having considered the Petition and the Response of Bar Counsel, it is this 9th day of June, 2009
ORDERED that the Petition be, and the same is granted, a majority of the Court concurring, and the Petitioner's practice shall be monitored by Henry C. Clagett, III, Esquire for a period of two (2) years with regular reports to Bar Counsel as set forth in Bar Counsel's response to the Verified Petition.
